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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE WESTERN DISTRICT OF LOUISIANA
                                      MONROE DIVISION


      CHAMBLESS ENTERPRISES LLC, et al.,

         Plaintiffs,                                         Case No. 3:20-cv-1455

             v.                                              Judge Terry A. Doughty

      CENTERS FOR DISEASE CONTROL AND                        Magistrate Judge Karen L. Hayes
      PREVENTION, et al.,

         Defendants.


                                                    ANSWER

            Defendants Centers for Disease Control and Prevention; Rochelle P. Walensky, in her official

  capacity as Director, Centers for Disease Control and Prevention; Sherri A. Berger, in her official

  capacity as Acting Chief of Staff, Centers for Disease Control and Prevention; Department of Health

  and Human Services; Norris Cochran, in his official capacity as Acting Secretary of Health and Human

  Services; and Monty Wilkinson, in his official capacity as Acting Attorney General of the United

  States,1 hereby answer Plaintiffs’ complaint as follows.

            1.         Admit the first sentence. The second sentence consists of Plaintiffs’ characterization

  of the Executive Order, not allegations of fact to which a response is required; to the extent a response

  is deemed required, Defendants deny any characterization of the Executive Order, which speaks for

  itself, and respectfully refer the Court to the Executive Order for a full and accurate statement of its

  contents.

            2.         This paragraph consists of Plaintiffs’ characterization of the Executive Order, not




  1
    Defendants Walensky, Berger, Cochran, and Wilkinson are automatically substituted as Defendants
  in their official capacities pursuant to Federal Rule of Civil Procedure 25(d).
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  allegations of fact to which a response is required; to the extent a response is deemed required,

  Defendants admit that the Executive Order contains the quoted text, deny any characterization of the

  Executive Order, which speaks for itself, and respectfully refer the Court to the Executive Order for

  a full and accurate statement of its contents.

          3.      As to the first sentence, admit that CDC issued an order that took effect on September

  4, 2020 (the “September 2020 CDC Order”), and otherwise deny. The second sentence consists of

  conclusions of law, not allegations of fact to which a response is required; to the extent a response is

  deemed required, Defendants admit that the September 2020 CDC Order contains the quoted text,

  deny any characterization of the September 2020 CDC Order, which speaks for itself, and respectfully

  refer the Court to the September 2020 CDC Order for a full and accurate statement of its contents.

          4.      The first sentence consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants admit that Congress did

  not impose an eviction moratorium that applied during the time period between the expiration of the

  CARES Act moratorium and the effective date of the September 2020 CDC Order. The second

  sentence consists of conclusions of law, not allegations of fact to which a response is required; to the

  extent a response is deemed required, admit that the September 2020 CDC Order was issued pursuant

  to authority granted by the Public Health Service Act, but otherwise deny.

          5.      The first sentence consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants deny any

  characterization of the Public Health Service Act and the regulations promulgated thereunder, which

  speak for themselves, and respectfully refer the Court to those authorities for a full and accurate

  statement of their contents. The second sentence consists of conclusions of law, not allegations of

  fact to which a response is required; to the extent a response is deemed required, deny.

          6.      Admit the first sentence. The second and third sentences consist of conclusions of

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  law, not allegations of fact to which a response is required. To the extent a response to the second

  sentence is deemed required, the term “normal operations” is undefined and vague, and so Defendants

  are unable to admit or deny the allegations of this sentence. To the extent a response to the third

  sentence is deemed required, Defendants admit that under the Constitution, Congress writes

  legislation, which upon passage is presented to the President for his signature or veto, see U.S. Const.

  Art. I, sec. 7, and that the President “shall take care that the laws be faithfully executed,” U.S. Const.

  Art. II, sec. 3.

           7.         The first, second, and third sentences consist of conclusions of law, not allegations of

  fact to which a response is required; to the extent a response is deemed required, deny. Deny the

  fourth sentence.

           8.         This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, deny.

           9.         This paragraph consists of conclusions of law regarding jurisdiction, not allegations of

  fact to which a response is required; to the extent a response is deemed required, admit that jurisdiction

  is proper under 28 U.S.C. § 1331 for claims brought by all Plaintiffs other than the Apartment

  Association of Louisiana, which lacks standing, and otherwise deny.

           10.        This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, deny that Plaintiffs are entitled to

  declaratory or injunctive relief.

           11.        This paragraph consists of conclusions of law regarding venue, not allegations of fact

  to which a response is required; to the extent a response is deemed required, admit that venue is proper

  in this district.

           12.        Defendants lack sufficient knowledge or information to form a belief about the truth

  of the allegations in this paragraph.

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          13.     Defendants lack sufficient knowledge or information to form a belief about the truth

  of the allegations in this paragraph.

          14.     Admit.

          15.     As to the first sentence, admit that Robert R. Redfield was Director of the CDC when

  the complaint was filed; further aver that the Director of the CDC is now Rochelle P. Walensky. As

  to the second sentence, admit that the September 2020 CDC Order was signed by Robert R. Redfield.

  The third sentence consists of Plaintiff’s characterization of the action, not allegations of fact to which

  a response is required.

          16.     As to the first sentence, admit that Nina B. Witkofsky was Acting Chief of Staff for

  CDC when the complaint was filed and that Ms. Witkofsky signed the Federal Register notice

  publishing the September 2020 CDC Order; otherwise deny, and further aver that Sherri A. Berger is

  now acting Chief of Staff for CDC. The second sentence consists of Plaintiffs’ characterization of

  the action, not allegations of fact to which a response is required.

          17.     As to the first sentence, admit that Alex Azar was Secretary of Health and Human

  Services when the complaint was filed; further aver that the Acting Secretary of Health and Human

  Services is now Norris Cochran. The second sentence consists of Plaintiff’s characterization of the

  action, not allegations of fact to which a response is required.

          18.     Admit.

          19.     As to the first sentence, admit that William P. Barr was Attorney General of the United

  States and head of the Department of Justice when the complaint was filed, and that the Department

  of Justice had authority to enforce the September 2020 CDC Order; further aver that the Acting

  Attorney General is now Monty Wilkinson. The second sentence consists of Plaintiff’s

  characterization of the action, not allegations of fact to which a response is required.

          20.     Admit.    Defendants further aver that the currently operative CDC Order was

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  promulgated on January 29, 2021, and published in the Federal Register on February 3, 2021. See

  Temporary Halt in Residential Evictions To Prevent the Further Spread of COVID-19, 86 Fed. Reg.

  8020 (Feb. 3, 2021).

         21.     This paragraph consists of Plaintiffs’ characterization of the September 2020 CDC

  Order, not allegations of fact to which a response is required. To the extent a response is deemed

  required, Defendants admit that the September 2020 CDC Order contains the quoted text, deny any

  characterization of the September 2020 CDC Order, which speaks for itself, and respectfully refer the

  Court to the September 2020 CDC Order for a full and accurate statement of its contents.

         22.     This paragraph consists of Plaintiffs’ characterization of the September 2020 CDC

  Order, not allegations of fact to which a response is required. To the extent a response is deemed

  required, Defendants admit that the September 2020 CDC Order contains the quoted text, deny any

  characterization of the September 2020 CDC Order, which speaks for itself, and respectfully refer the

  Court to the September 2020 CDC Order for a full and accurate statement of its contents.

         23.     This paragraph consists of Plaintiffs’ characterization of the September 2020 CDC

  Order, not allegations of fact to which a response is required. To the extent a response is deemed

  required, Defendants admit that the September 2020 CDC Order contains the quoted text, deny any

  characterization of the September 2020 CDC Order, which speaks for itself, and respectfully refer the

  Court to the September 2020 CDC Order for a full and accurate statement of its contents.

         24.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants admit that the

  September 2020 CDC Order contains the quoted text, deny any characterization of the September

  2020 CDC Order, which speaks for itself, and respectfully refer the Court to the September 2020

  CDC Order for a full and accurate statement of its contents.

         25.     This paragraph consists of conclusions of law, not allegations of fact to which a

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  response is required; to the extent a response is deemed required, Defendants admit that the

  September 2020 CDC Order contains the quoted text, deny any characterization of the September

  2020 CDC Order, which speaks for itself, and respectfully refer the Court to the September 2020

  CDC Order for a full and accurate statement of its contents.

         26.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants admit that the

  September 2020 CDC Order contains the quoted text, deny any characterization of the September

  2020 CDC Order, which speaks for itself, and respectfully refer the Court to the September 2020

  CDC Order for a full and accurate statement of its contents.

         27.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants deny any

  characterization of the September 2020 CDC Order, which speaks for itself, and respectfully refer the

  Court to the September 2020 CDC Order for a full and accurate statement of its contents.

         28.     The first sentence consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants deny any

  characterization of the September 2020 CDC Order, which speaks for itself, and respectfully refer the

  Court to the September 2020 CDC Order for a full and accurate statement of its contents. The second

  sentence consists of Plaintiffs’ characterization of a Frequently Asked Questions (“FAQs”) document

  issued by CDC; Defendants admit that CDC (along with the Department of Health and Human

  Services, the Department of Justice, and the Department of Housing and Urban Development) issued

  the FAQs, deny any characterization of the FAQs, which speak for themselves, and respectfully refer

  the Court to the FAQs for a full and accurate statement of their contents. As to the third and fourth

  sentences, admit that the FAQs contain the quoted text, deny any characterization of the FAQs, which

  speak for themselves, and respectfully refer the Court to the FAQs for a full and accurate statement

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  of their contents. Deny the fifth sentence.

          29.     This paragraph consists of Plaintiffs’ characterization of the September 2020 CDC

  Order, not allegations of fact to which a response is required. To the extent a response is deemed

  required, Defendants admit that the September 2020 CDC Order contains the quoted text, deny any

  characterization of the September 2020 CDC Order, which speaks for itself, and respectfully refer the

  Court to the September 2020 CDC Order for a full and accurate statement of its contents.

          30.     The first sentence consists of Plaintiffs’ characterization of the September 2020 CDC

  Order, not allegations of fact to which a response is required; to the extent a response is deemed

  required, Defendants deny any characterization of the September 2020 CDC Order, which speaks for

  itself, and respectfully refer the Court to the September 2020 CDC Order for a full and accurate

  statement of its contents. The second sentence consists of conclusions of law, not allegations of fact

  to which a response is required; to the extent a response is deemed required, deny.

          31.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants deny any

  characterization 42 U.S.C. § 264 and 42 C.F.R. § 70.2, which speak for themselves, and respectfully

  refer the Court to those authorities for a full and accurate statement of their contents.

          32.     This paragraph consists of Plaintiffs’ characterization of 42 U.S.C. § 264, not

  allegations of fact to which a response is required; to the extent a response is deemed required,

  Defendants admit that 42 U.S.C. § 264 contains the quoted text, deny any characterization of 42 U.S.C.

  § 264, which speaks for itself, and respectfully refer the Court to 42 U.S.C. § 264 for a full and accurate

  statement of its contents. Footnote 1 consists of legal conclusions, not allegations of fact to which a

  response is required; to the extent a response is deemed required, admit.

          33.     This paragraph consists of Plaintiffs’ characterization of 42 U.S.C. § 264, not

  allegations of fact to which a response is required; to the extent a response is deemed required,

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  Defendants deny any characterization of 42 U.S.C. § 264, which speaks for itself, and respectfully refer

  the Court to 42 U.S.C. § 264 for a full and accurate statement of its contents.

          34.       This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants admit that the cited

  authorities contain the quoted text, deny any characterization of those authorities, which speak for

  themselves, and respectfully refer the Court to those authorities for a full and accurate statement of

  their contents.

          35.       This paragraph consists of Plaintiffs’ characterization of the September 2020 CDC

  Order, not allegations of fact to which a response is required; to the extent a response is deemed

  required, Defendants admit that the September 2020 CDC Order contains the quoted text, deny any

  characterization of the September 2020 CDC Order, which speaks for itself, and respectfully refer the

  Court to the September 2020 CDC Order for a full and accurate statement of its contents.

          36.       The first sentence consists of legal conclusions, not allegations of fact to which a

  response is required; to the extent a response is deemed required, deny. The second sentence consists

  of Plaintiffs’ characterization of the September 2020 CDC Order, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants admit that the

  September 2020 CDC Order contains the quoted text, deny any characterization of the CDC Order,

  which speaks for itself, and respectfully refer the Court to the September 2020 CDC Order for a full

  and accurate statement of its contents.

          37.       Defendants lack sufficient knowledge or information to form a belief about the truth

  of the allegations in this paragraph.

          38.       Defendants lack sufficient knowledge or information to form a belief about the truth

  of the allegations in this paragraph.

          39.       Defendants lack sufficient knowledge or information to form a belief about the truth

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  of the allegations in this paragraph.

          40.     Defendants lack sufficient knowledge or information to form a belief about the truth

  of the allegations in this paragraph.

          41.     Defendants lack sufficient knowledge or information to form a belief about the truth

  of the allegations in this paragraph.

          42.     Defendants lack sufficient knowledge or information to form a belief about the truth

  of the allegations in this paragraph.

          43.     Defendants lack sufficient knowledge or information to form a belief about the truth

  of the allegations in this paragraph.

          44.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants admit that a person who

  violates the September 2020 CDC Order may be subject to criminal penalties.

          45.     Defendants lack sufficient knowledge or information to form a belief about the truth

  of the allegations in this paragraph.

          46.     Defendants restate and incorporate by reference the responses contained in all

  preceding paragraphs.

          47.     The first sentence consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants deny any

  characterization of 5 U.S.C. § 704, which speaks for itself, and respectfully refer the Court to 5 U.S.C.

  § 704 for a full and accurate statement of its contents. The second sentence consists of conclusions

  of law, not allegations of fact to which a response is required; to the extent a response is deemed

  required, Defendants admit that the September 2020 CDC Order was final agency action within the

  meaning of 5 U.S.C. § 704.

          48.      This paragraph consists of conclusions of law, not allegations of fact to which a

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  response is required; to the extent a response is deemed required, Defendants deny any

  characterization of 5 U.S.C. § 706, which speaks for itself, and respectfully refer the Court to 5 U.S.C.

  § 706 for a full and accurate statement of its contents.

          49.     This paragraph consists of Plaintiffs’ characterization of the September 2020 CDC

  Order, not allegations of fact to which a response is required; to the extent a response is deemed

  required, Defendants admit that the September 2020 CDC Order contains the quoted text, deny any

  characterization of the CDC Order, which speaks for itself, and respectfully refer the Court to the

  September 2020 CDC Order for a full and accurate statement of its contents.

          50.     To the extent that this paragraph consists of factual allegations concerning Plaintiffs’

  leases, Defendants lack sufficient knowledge or information to form a belief about the truth of the

  allegations. To the extent that this paragraph consists of legal conclusions, no response is required,

  but if a response is deemed required, Defendants deny any characterization of the relevant authorities,

  which speak for themselves, and respectfully refer the Court to those authorities for a full and accurate

  statement of their contents.

          51.     To the extent that this paragraph consists of factual allegations concerning Plaintiffs’

  tenants, Defendants lack sufficient knowledge or information to form a belief about the truth of the

  allegations in this paragraph. To the extent that this paragraph consists of legal conclusions regarding

  the September 2020 CDC Order, Defendants deny any characterization of the September 2020 CDC

  Order, which speaks for itself, and respectfully refer the Court to the September 2020 CDC Order for

  a full and accurate statement of its contents.

          52.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants admit that the

  September 2020 CDC Order contains the quoted text, deny any characterization of the September

  2020 CDC Order, which speaks for itself, and respectfully refer the Court to the September 2020

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  CDC Order for a full and accurate statement of its contents.

          53.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants lack sufficient

  knowledge or information to form a belief about the truth of the allegations in this paragraph.

          54.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants admit that the

  September 2020 CDC Order contains the quoted text (without the emphasis added by Plaintiffs), deny

  any characterization of the September 2020 CDC Order, which speaks for itself, and respectfully refer

  the Court to the September 2020 CDC Order for a full and accurate statement of its contents.

          55.     To the extent this paragraph consists of conclusions of law, Defendants deny any

  characterization of the September 2020 CDC Order, which speaks for itself, and respectfully refer the

  Court to the September 2020 CDC Order for a full and accurate statement of its contents; to the

  extent this paragraph consists of allegations of fact, Defendants lack information sufficient to admit

  or deny the allegations of this paragraph.

          56.     Admit that the September 2020 CDC Order was issued pursuant to 42 U.S.C. § 264

  and 42 C.F.R. § 70.2.

          57.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, deny.

          58.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, deny.

          59.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants deny any

  characterization of the September 2020 CDC Order, which speaks for itself, and respectfully refer the

  Court to the September 2020 CDC Order for a full and accurate statement of its contents.

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          60.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, deny.

          61.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, deny.

          62.     To the extent the first sentence consists of conclusions of law, no response is required,

  but if a response is deemed required, Defendants deny any characterization of the September 2020

  CDC Order, which speaks for itself, and respectfully refer the Court to the September 2020 CDC

  Order for a full and accurate statement of its contents; to the extent the first sentence consists of

  allegations of fact, Defendants lack information sufficient to admit or deny the allegations of this

  sentence. The second sentence consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, deny.

          63.     Defendants restate and incorporate by reference the responses contained in all

  preceding paragraphs.

          64.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, deny.

          65.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants admit that Article I,

  section 1 of the U.S. Constitution contains the quoted text, deny any characterization of Article I,

  section 1 of the U.S. Constitution, which speaks for itself, and respectfully refer the Court to Article

  I, section 1 of the U.S. Constitution for a full and accurate statement of its contents.

          66.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants deny any

  characterization of Article I, section 1 of the U.S. Constitution, which speaks for itself, and respectfully

  refer the Court to Article I, section 1 of the U.S. Constitution for a full and accurate statement of its

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  contents.

          67.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants deny any

  characterization of Article I, section 1 of the U.S. Constitution, which speaks for itself, and respectfully

  refer the Court to Article I, section 1 of the U.S. Constitution for a full and accurate statement of its

  contents.

          68.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants deny any

  characterization of Article I, section 1 of the U.S. Constitution, which speaks for itself, and respectfully

  refer the Court to Article I, section 1 of the U.S. Constitution for a full and accurate statement of its

  contents.

          69.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, deny.

          70.     The first sentence consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants deny any

  characterization of 42 U.S.C § 264 and 42 C.F.R. § 70.2, which speak for themselves, and respectfully

  refer the Court to those authorities for a full and accurate statement of their contents. The second

  sentence consists of conclusions of law, not allegations of fact to which a response is required; to the

  extent a response is deemed required, deny.

          71.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants deny any

  characterization of 42 U.S.C § 264 and 42 C.F.R. § 70.2, which speak for themselves, and respectfully

  refer the Court to those authorities for a full and accurate statement of their contents.

          72.     This paragraph consists of conclusions of law, not allegations of fact to which a

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  response is required; to the extent a response is deemed required, deny.

          73.     Defendants restate and incorporate by reference the responses contained in all

  preceding paragraphs.

          74.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants deny any

  characterization of 5 U.S.C. § 553, which speaks for itself, and respectfully refer the Court to 5 U.S.C.

  § 553 for a full and accurate statement of its contents.

          75.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants deny any

  characterization of 5 U.S.C. § 553, which speaks for itself, and respectfully refer the Court to 5 U.S.C.

  § 553 for a full and accurate statement of its contents.

          76.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants deny any

  characterization of 5 U.S.C. § 551 and 5 U.S.C. § 553, which speak for themselves, and respectfully

  refer the Court to those authorities for a full and accurate statement of its contents.

          77.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, deny.

          78.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required. To the extent a response to the first and second sentences is deemed required,

  Defendants admit that 5 U.S.C. § 553(b)(B) contains the quoted text, deny any characterization of

  5 U.S.C. § 553(b)(B), which speaks for itself, and respectfully refer the Court to 5 U.S.C. § 553(b)(B)

  for a full and accurate statement of its contents. To the extent a response to the third sentence is

  deemed required, deny.

          79.     This paragraph consists of conclusions of law, not allegations of fact to which a

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  response is required; to the extent a response is deemed required, deny.

          80.     Defendants restate and incorporate by reference the responses contained in all

  preceding paragraphs.

          81.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, Defendants deny any

  characterization of 5 U.S.C. § 706(2)(A), which speaks for itself, and respectfully refer the Court to 5

  U.S.C. § 706(2)(A) for a full and accurate statement of its contents.

          82.     The first sentence consists of Plaintiffs’ characterization of the September 2020 CDC

  Order, not allegations of fact to which a response is required; to the extent a response is deemed

  required, Defendants deny any characterization of the September 2020 CDC Order, which speaks for

  itself, and respectfully refer the Court to the September 2020 CDC Order for a full and accurate

  statement of its contents. The second sentence consists of conclusions of law, not allegations of fact

  to which a response is required; to the extent a response is deemed required, deny.

          83.     As to the first sentence, admit that CDC issued the September 2020 CDC Order in

  September 2020, and otherwise deny; further aver that the World Health Organization declared

  COVID-19 a pandemic on March 11, 2020. The second sentence consists of Plaintiffs’

  characterization of the September 2020 CDC Order, not allegations of fact to which a response is

  required; to the extent a response is deemed required, Defendants deny any characterization of the

  September 2020 CDC Order, which speaks for itself, and respectfully refer the Court to the September

  2020 CDC Order for a full and accurate statement of its contents.

          84.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, deny.

          85.     This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, deny.

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         86.      This paragraph consists of conclusions of law, not allegations of fact to which a

  response is required; to the extent a response is deemed required, deny.

         The remaining paragraphs of the complaint contain a prayer for relief, to which no response

  is required. To the extent a response is deemed required, Defendants deny any allegations contained

  in the prayer for relief and further deny that Plaintiffs are entitled to the requested relief or to any

  relief whatsoever.

                                               DEFENSES

         1.       The Court lacks subject matter jurisdiction over certain claims.

         2.       Plaintiffs fail to state a claim upon which relief may be granted.

         3.       Defendants’ actions did not violate the U.S. Constitution, the Administrative

  Procedure Act, or any other statutory or regulatory provision.

                                             CONCLUSION

         WHEREFORE, having fully answered, Defendants respectfully request that the Court enter

  judgment dismissing this action with prejudice and awarding Defendants costs and such other relief

  as the Court may deem appropriate. Each and every allegation of the Complaint not heretofore

  expressly admitted or denied is hereby denied.


  Dated: February 9, 2021                                 Respectfully submitted,

                                                          BRIAN M. BOYNTON
                                                          Acting Assistant Attorney General

                                                          ERIC BECKENHAUER
                                                          Assistant Director, Federal Programs Branch

                                                          /s/ Steven A, Myers
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                                    CERTIFICATE OF SERVICE

          I hereby certify I served this document today by filing it using the Court’s CM/ECF system,

  which will automatically notify all counsel of record.


  Dated: February 9, 2021


                                                       /s/ Steven A. Myers
                                                       Steven A. Myers
